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Case 4:11-cv-00799-A Document17 Filed 01/06/12 Pagelofi1 P 151

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US, DISTRICT COURT
NORTHERN DIST. OF TX
FT, WORTH DIVISION

2012 JAN-6 AM 9: 24

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS); 3° COURT

FORT WORTH DIVISION
MARTHA L. PRICE AND § site weit
ANGELA L. PRICE, §
§
Plaintiffs, §
§
vs. § Civil Action No. 4:11-CV-799-A
§
BANK OF AMERICA, N.A., THE BANK §
OF NEW YORK MELLON FKA THE §
BANK OF NEW YORK, AS TRUSTEE §
FOR CWABS, INC., ASSET BACKED §
CERTIFICATES, SERIES 2007-02, §
§
Defendants. §

STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

TO THE HONORABLE JUDGE OF SAID COURT,

PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiffs

Martha L. Price and Angela L. Price file this stipulation dismissing the above-captioned lawsuit

without prejudice.

Date: January 6, 2012

Respectfully submitted,

Yl pe

Caleb Israel Moore

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ATTORNEY FOR PLAINTIFF
MARTHA L. PRICE and
ANGELA L. PRICE

 

STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
Civil Action No. 4:11-cv-799-A; Martha Price et al.v. Bank of America, N.A. et al.

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